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10                           IN THE UNITED STATES DISTRICT COURT
11                        FOR THE EASTERN DISTRICT OF CALIFORNIA
12   RALPH COLEMAN,                                        )    No.: Civ S 90-0520 LKK-JFM
                                                           )
13          Plaintiffs,                                    )    REPLY MEMORANDUM IN SUPPORT
                                                           )    OF MOTION FOR PERMISSIVE
14   vs.                                                   )    INTERVENTION AND FOR
                                                           )    MODIFICATION OF PROTECTIVE
15   ARNOLD SCHWARZENEGGER, et al.,                        )    ORDER
                                                           )
16          Defendants                                     )                       HEARING
                                                           )
17                                                         )    Date: December 14, 2006
                                                           )    Time: 11:00 a.m.
18                                                         )    Place: Courtroom 25, 8th Floor
                                                           )
19                                                         )    The Honorable John F. Moulds
                                                           )
20                                                         )
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 1                                                  INTRODUCTION
 2             Plaintiffs in Hecker et al. v. Schwarzenegger et al., Case No. 2:05-cv-02441-LKK-
 3   JFM (E.D. Cal.) (the “Hecker Plaintiffs”) seek to intervene in this case for the limited purpose
 4   of modifying the Protective Order entered on July 29, 1992. Plaintiffs-intervenors filed their
 5   motion in an effort to streamline the discovery process in this new discrimination action, and to
 6   eliminate costly and wasteful duplication of effort in both matters.
 7             Defendants Arnold Schwarzenegger, et al., first sought to indefinitely delay the
 8   resolution of this motion, while actively pursuing their own discovery efforts. Having been
 9   ordered by the Court to produce a substantive response, they now mischaracterize both the
10   Hecker litigation and the motion to intervene. Because The Hecker Plaintiffs seek access to
11   materials already in Plaintiffs’ counsel’s possession, there is no burden or prejudice to
12   defendants and the motion for permissive intervention should be granted. Defendants’
13   arguments that this motion is an end-run around the recent Coleman discovery order and their
14   proffered doomsday scenario that defendants will be required to produce huge volumes of
15   documents are misleading to this Court. As described more fully below, the Coleman court did
16   not prohibit Plaintiffs from seeking discovery, but rather postponed a ruling on discovery until
17   plaintiffs indicated that a particular issue is appropriate for litigation and served specific
18   discovery requests. Moreover, Plaintiffs are seeking in this motion to use documents already
19   in their possession and not, as Defendants claim, to impose a burden on Defendants to produce
20   thousands of previously produced documents after locating them in the deep and dark crevices
21   of CDCR basements.
22                                                 ARGUMENT
23   I.    HECKER IS NOT AN ATTEMPT TO CIRCUMVENT DECISIONS OR
           RELITIGATE ISSUES RESOLVED IN COLEMAN AND, MORE
24         IMPORTANTLY, DEFENDANTS’ ARGUMENT TO THIS EFFECT IS
           IRRELEVANT TO THIS MOTION
25
26             Throughout their Opposition, Defendants claim that the motion for permissive
27   intervention and the Hecker action itself are efforts to relitigate issues decided in Coleman.
28   This argument, which is before this Court in Defendants’ motion to dismiss, has absolutely no
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 1   bearing on this motion.1 The only relevant issue for this Court in this motion is whether
 2   Plaintiffs have met their burden under Fed. R. Civ. P. 24(b) to intervene in this case. That
 3   decision “hinges on the degree of overlap in facts, parties, and issues between the suit covered
 4   by the protective order and the collateral proceedings.” Foltz v. State Farm Mut. Auto Ins. Co.,
 5   331 F.3d 1122, 1132 (9th Cir. 2003)(citations omitted).
 6              Nevertheless, because Defendants’ argument (that the purpose of this motion is to seek
 7   an end-run around prior Coleman orders) is so misleading to this Court, it warrants response.
 8   While Hecker and Coleman are both related and similar, they are not the same case. The
 9   Hecker litigation seeks relief for mentally ill prisoners for discrimination occurring subsequent
10   to the trial in Coleman, under legal theories never litigated by the Coleman plaintiffs.
11   Defendants acknowledge this in their Opposition: “While the Hecker and Coleman cases may
12   derive from a shared set of facts, the cases are brought under different legal theories: the
13   Hecker plaintiffs’ claims are under the Americans with Disabilities Act and Rehabilitation Act,
14   [while] the Coleman plaintiffs obtained relief under the Eighth Amendment.” Defendants’
15   Opposition to Motion to Intervene, at 8:12-15 (“Def. Opp.”).2 To date, neither the ADA nor
16   the Rehabilitation Act claims have been litigated in Coleman. See Reply Declaration of
17   Michael W. Bien in Support of Motion To Intervene (“Bien Decl.”), at ¶ 7.
18              In their Introduction, Defendants also claim that Plaintiffs filed Hecker “[i]n the wake
19   of [the] denial” of a motion for post-judgment discovery in Coleman. Defendants’ Opposition
20   to Motion to Intervene (“Def. Opp.”), at p. 2:4-5. In fact, the Order referenced by Defendants
21   was issued by this Court on September 28, 2006, more than nine months after the filing of the
22   Hecker complaint. Bien Decl. ¶ 9. More importantly, Plaintiffs’ current motion has nothing to
23   do with that order. Judge Moulds denied the discovery motion without prejudice, ruling that
24
     1
25       Defendants’ accusation of “forum shop[ping],” at page 11, line 19 of their Opposition, is also
         preposterous. Far from forum shopping, Hecker Plaintiffs filed their claims as a related case
26       before the same Judge and Magistrate Judge as Coleman.
     2
27       Three paragraphs later, Defendants contradict this acknowledgement, with the erroneous
         assertion that: “The Hecker plaintiffs-intervenors seek a court ruling on the same claims stated
28       in [Coleman].” Def. Opp. at 9:1-2.

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 1   the issue was not ripe and that “unless or until an objection is filed, there is no factual or legal
 2   context in which the court can properly evaluate whether particular discovery is appropriate.”
 3   Bien Decl. ¶ 9 and Ex. A. In other words, Plaintiffs can serve specific discovery requests in
 4   Coleman after they file an objection indicating that they are ready to litigate a particular issue
 5   that remains in dispute. Given the overcrowding crisis and numerous other pending issues in
 6   Coleman, Plaintiffs have delayed their right to initiate litigation (and discovery) in that case at
 7   this time. In the meantime, the Hecker case is in active litigation and Plaintiffs request
 8   permission to utilize documents already in their possession from the Coleman case. An order
 9   about future discovery in Coleman that may or may not happen (in Plaintiffs’ discretion) has
10   nothing to do with the present motion.
11   II.   INFORMATION PRODUCED UNDER THE COLEMAN PROTECTIVE ORDER
           IS RELEVANT TO, AND DISCOVERABLE IN, HECKER
12
13         Defendants quote Foltz, supra, for the uncontroversial proposition that collateral litigants
14   seeking access to protected discovery must make a general showing of discoverability as well
15   as a showing of relevance to the collateral proceeding. Def. Opp. at 7: 5-7. Defendants’
16   citation ignores the fact that Plaintiff-Intervenors have made such a showing and, perhaps more
17   importantly, it obscures the strong presumption in favor of discovery by collateral litigants
18   articulated in Foltz.
19           This court strongly favors access to discovery materials to meet the needs of
             parties engaged in collateral litigation … Allowing the fruits of one litigation to
20           facilitate preparation in other cases advances the interests of judicial economy by
             avoiding the wasteful duplication of discovery… Where reasonable restrictions
21           on collateral disclosure will continue to protect an affected party's legitimate
             interests in privacy, a collateral litigant's request to the issuing court to modify an
22           otherwise proper protective order so that collateral litigants are not precluded
             from obtaining relevant material should generally be granted.
23
24   331 F.3d at 1131-32 (citations omitted); see also id. at 1139 (reversing decision to deny
25   intervention, remanding with instructions to make relevance determination regarding collateral
26   litigants).
27             The Hecker Plaintiffs have already made the showing required by Foltz. In support of
28   their motion for permissive intervention, the Hecker Plaintiffs have outlined the legal and
                                                           3
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 1   factual similarities between Hecker and Coleman. See Motion to Intervene, 11/9/06, at 2:19 –
 2   3:14. The Hecker Plaintiffs cite the overlapping parties (“[s]ince the Coleman class
 3   encompasses all CDCR inmates with serious mental disorders, every member of the proposed
 4   Hecker class is by definition also a member of the Coleman class,” id. at 2:21 - 3:1), the
 5   similarity of both Plaintiffs’ and Defense counsel, and the numerous shared legal and factual
 6   issues. Id.; see also 11/9/06 Declaration of Michael W. Bien In Support of Motion to
 7   Intervene. These similarities are sufficient to justify the sharing of discovery under the
 8   standard set forth in Federal Rule of Civil Procedure 24(b). See Beckman Indus., Inc. v.
 9   International Ins. Co., 966 F.2d 470, 473 (9th Cir.), cert. denied, 506 U.S. 868 (1992). 3
10              Moreover, the overlap between the cases is demonstrated by the relevance of Coleman
11   materials to the Hecker lawsuit. For example, counsel for the Coleman plaintiffs regularly
12   receive and review lists of inmates awaiting transfer, lists of referrals and discharges, and
13   reports on inmate placement. See 11/9/06 Bien Decl., at ¶ 16. These documents are materials
14   covered by the Coleman protective order concerning prisoners with mental illness who are also
15   members of the Hecker class. See id. at ¶ 18. Defendants have also produced to plaintiffs’
16   counsel in Coleman CDCR policies and relevant inmate histories and documents from inmate
17   central and medical files. These documents contain information relevant to claims of
18   discrimination on the basis of mental illness and the prisons’ responses to those claims – the
19   heart of the Hecker lawsuit. See id. at ¶ 19. They are therefore relevant and discoverable in
20   Hecker. Defendants offer no reason why plaintiffs’ counsel, who are already in possession of
21   these documents, should be denied use of them in the Hecker litigation.
22   III. THE HECKER PLAINTIFFS SEEK ONLY THE TYPE OF LIMITED
          INTERVENTION PREVIOUSLY GRANTED IN THIS CASE
23
24              As an effort to redress different forms of discrimination against a class of disabled
25   inmates, Hecker closely resembles both Armstrong, et al. v. Schwarzenegger, et al., C-94-2307
26
     3
         Although Defendants chide the Hecker Plaintiffs for resting their argument “upon a single
27       case,” they acknowledge Beckman’s key holding: that “Rule 24 permits post-judgment
         intervention to enable modification of a protective order and thus release of previously-sealed
28       documents.” Def. Opp. at 8: 4-5.
                                                           4
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 1   CW (N.D. Cal.), and Clark, et al. v. California, et al., C-96-1486 FMS (N.D. Cal.). The
 2   plaintiffs in Armstrong and in Clark, like the Hecker Plaintiffs, were represented by attorneys
 3   who were privy to information produced in Coleman and clearly discoverable as relevant to
 4   their cases. They sought and obtained modification of the Coleman protective order under
 5   precisely the terms sought in the instant motion. The modification did not occur in order to
 6   compel Defendants to produce thousands of previously-obtained documents, but to alleviate
 7   the need for duplicative requests as the litigation progressed. Yet Defendants do not argue that
 8   the Court acted unwisely or improvidently by modifying this protective order for the benefit of
 9   the Armstrong and Clark classes.
10             Indeed, Defendants make no direct effort to distinguish the Hecker Plaintiffs from the
11   Armstrong and Clark plaintiffs. Section II of Defendants’ Opposition implies a distinction:
12   “The classes of inmates [in Armstrong and Clark] were distinct [from the class in Coleman],
13   with nominal overlap when individual inmates presented with dual diagnosis (e.g.,
14   developmental disability and a serious mental disorder).” Def. Opp. at 3:27-28 & 4:1. This
15   assertion is presumably meant to be contrasted with Defendant’s later conclusion that “[t]he
16   Hecker plaintiffs, by their own assertion, are a subset of the Coleman plaintiffs and therefore a
17   party to the Coleman case.” Id. at 7:20-21.
18             But the fact that the Hecker-Intervenors are a subset of the Coleman class works in
19   favor of granting this motion and is consistent with the Beckman standard. The Armstrong and
20   Clark plaintiffs were not permitted to share Coleman discovery because they were dissimilar to
21   the Coleman class, but rather because it was likely that they would have overlapping Coleman
22   issues. In other words, the more dissimilar the Plaintiffs, the less incentive a Court should have
23   to permit efficient information sharing. Here, the Hecker-Intervenors have an even closer
24   relationship to the Coleman class and are even more likely to have overlapping Coleman
25   issues; indeed, many are Coleman class members. By emphasizing the dissimilarities between
26   Armstrong and Coleman plaintiffs, Defendants turn the Beckman standard – which demands a
27   showing of a nexus of law and fact for precisely this sort of intervention – on its head.
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 1   IV. THE REQUESTED MODIFICATION IS DIRECTED AT REDUCING, RATHER
         THAN FOSTERING, NEW AND WASTEFUL REQUESTS FOR PREVIOUSLY
 2       PRODUCED MATERIAL
 3             Defendants claim in their Opposition that modification of the Coleman protective
 4   order will require the review and production of limitless amounts of Coleman materials to the
 5   named Hecker Plaintiffs. To the contrary, the modification is sought for the purpose of
 6   eliminating existing inefficiency, and streamlining future discovery.
 7             Attorneys for the Coleman Plaintiffs are currently in possession of inmate medical
 8   records, inmate C-files, lists of inmates awaiting transfer, lists of referrals and discharges, and
 9   reports on inmate placement. See supra, Part III; Memorandum of Points and Authorities in
10   Support of Motion to Intervene, 11/9/06, at 6:24-28. A substantial amount of this material is
11   not covered by the protective order in question, which applies only to “documents which
12   identify a patient or inmate other than the named [Coleman] plaintiffs.”4 See 11/9/06
13   Declaration of Michael W. Bien at ¶ 3 and Exhibit A. Those files which do contain inmate
14   names frequently provide information directly relevant to violations of their Eighth
15   Amendment and statutory rights – i.e., information discoverable in both Coleman and Hecker.
16   Id. Requiring counsel for Hecker or Coleman to refrain from using information already in their
17   possession, and asking that an individual attorney somehow ignore information in a single
18   inmate file while acting in her capacity as Hecker counsel (but not while acting as Coleman
19   counsel), is to encourage needless and wasteful expenditure. Id. at ¶¶ 17-19.5
20             Contrary to Defendants’ assertion, the Hecker Plaintiffs’ request for a modification of
21   the protective order will not impose any burden on Defendants to review or produce
22   documents. Defendants’ imagined and feared production of a “volume of documents [which]
23
     4
24     The Hecker Plaintiffs do not seek a modification of the protective order entered May 5, 2005
     which restricts access to “personal or security or personnel information produced by defendants
25   in response to the March 7, 2005 order” and directing the Coleman defendants to file a fact-
     finding report on allegations of staff misconduct at CSP/Corcoran. See Bien Decl. ¶ 14 and Ex.
26   B (Use of Force Protective Order at 3:6-7).
     5
27     Such fruitless requirements also interfere with counsel’s present and future ability to represent
     their clients. Plaintiffs are actual people who are suffering palpable and daily harm from
28   Defendants’ discriminatory policies and procedures.

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 1   can only be described in terms of filled boxes placed on floor-to-ceiling shelves in a large
 2   storage room,” Def. Opp. at 8:22-23, simply will not come to pass as a result of adding Hecker
 3   counsel to the list of parties permitted to review personal or security information produced in
 4   Coleman. Defendants’ invocation of such a scenario obscures both the stated purpose of the
 5   Hecker Plaintiffs’ motion and the reality that no such catastrophe occurred following the
 6   previous Armstrong and Clark modifications. It also runs directly contrary to Defendants’
 7   statement that “the great majority of [Coleman] documents hav[e] no relevance to the Hecker
 8   claim of failure to provide vocational and educational opportunities to mentally ill inmates.”
 9   Def. Opp. at 9:27 – 10:1.
10             Defendants do not currently produce nearly as many documents to plaintiffs in
11   Coleman as suggested by the Opposition and declaration in support. Defendants have failed
12   for several consecutive months to produce the monthly “detailed and voluminous documents”
13   containing statistical information and reports. See Bien Decl., ¶ 10. Defendants are similarly
14   behind in their production of biweekly materials. See id. While Defendants do produce
15   statements on mental health services and related materials to Special Master Keating in
16   conjunction with monitoring tours, counsel for the Coleman plaintiffs do not receive copies of
17   these materials unless present for the tours themselves – a comparatively rare phenomenon.
18   See Bien Decl., ¶ 11. Counsel is permitted to accompany the Special Master on seven (7) tours
19   annually, while the office of the Special Master conducts 66 annual tours. See Bien Decl.,
20   ¶ 12. The “annual report on suicides” produced by the Special Master is a public document,
21   accessible on the Court’s docket by any PACER user. It is neither in the sole possession of
22   Defendants, nor sought via modification of the protective order. See id., at ¶ 13 In light of
23   these inaccuracies, counsel’s statement that Defendants “have produced to the Special Master,
24   with courtesy copies to Plaintiff’s counsel, voluminous information over the past ten years
25   concerning the status of inmates within the [CDCR] mental health services delivery system,”
26   Declaration of Lisa Tillman in Support of Def. Opp. at ¶ 3, is particularly misleading.
27             There is likewise no merit to Defendants’ claim that modification will result in
28   prejudice to the Coleman parties now that the California Departments of Mental Health (DMH)
                                                           7
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 1   and Finance (DOF) have been joined in that action.6 Granting the Hecker Plaintiffs access to
 2   discovery under the terms applicable to the Coleman Plaintiffs will not in any way prohibit
 3   Defendants from asserting that specific documents are either irrelevant or inadmissible in
 4   Hecker. Like the plaintiffs in Armstrong and Clark, the Hecker Plaintiffs will craft focused
 5   discovery requests as the need arises, but will also benefit immediately from access to existing
 6   materials already in their possession.
 7             Finally, Defendants cite no support for their assertion that as “another holder of the
 8   privilege,” they are entitled to assert the privacy claims held by plaintiffs in Coleman. In
 9   reality, this case is directly analogous to Beckman, in which, as noted by Defendants,
10   “plaintiffs in the prior … action expressly did not object to the intervention request.” Def.
11   Opp. at 9:3-4.
12                                                CONCLUSION
13             Hecker is a complementary action, filed to address new violations of distinct and
14   different statutes by Defendants. Because the Hecker litigation bears a sufficient nexus of law
15   and fact to the proceedings in Coleman, and because no harm will result to either party,
16   permissive intervention for the purpose of modifying the Coleman protective order is proper.
17   Because such a modification would decrease waste and inefficiency as Hecker progresses, such
18   a modification should be granted.
19
     Dated: December 8, 2006                        Respectfully submitted,
20
                                                    ROSEN, BIEN & GALVAN, LLP
21
22                                                  By:
                                                          Michael W. Bien
23                                                        Attorney for Plaintiffs-Intervenors
24
25
26
27   6
      If granted, this motion does not require the DOF and DMH to search for documents. Bien
28   Decl. ¶ 15.

                                                           8
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